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TMM CMe Mea Uke

 

Debtorname Platinum Moving Services, Inc.

 

District of Maryland
(State)

United States Bankruptcy Court for the:

22-17189

Case number (If known):

 

L) Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

1. Gross revenue from business

L) None
Identify the beginning and ending dates of the debtor’s fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the {1 Operating a business
fiscal year to filing date: © From 01/01/2022, Filing date OC other s 900,000.00
MM/DD/YYYY TTT
For prior year: From 01/01/2021, 12/31/2021 @ operating a business 5 948,834.00
MM/DD/YYYY MM/DD/YYYY C) other 7
For the year before that: = From on" of 12020 to { 21312020 a Operating a business $ 1,308, 766.00

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

 

(4 None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the
fiscal year to filing date: From to Filing date §
MM/DD/YYYY
For prior year: From to
MM/DD/YYYY MM/DD/YYYY $
For the year before that: From to
MM/DD/YYYY MM/DD/YYYY $

 

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Debtor Platinum Moving Services, Inc. Case number (known 22-17 189

 

 

Name

Ea List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

 

 

 

 

 

 

 

 

 

 

44 None
Creditor’s name and address Dates Total amount or value Reasons for payment or transfer
Check all that apply
3.1.
$ LL} = Secured debt
Creditors name LJ Unsecured loan repayments
Street UL) Suppliers or vendors
UL) Services
City State ZIP Code CY other
3.2.
$ LY = Secured debt
Creditor's name O Unsecured loan repayments
Street OQ Suppliers or vendors
UL] Services
City State ZIP Code L) other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).

id None

Insider's name and address Dates Total amount or value Reasons for payment or transfer
41.

 

 

Insider's name

 

 

Street

 

 

 

City State ZIP Code

Relationship to debtor

 

4.2.

 

 

Insider’s name

 

 

Street

 

 

 

City State ZIP Code

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
Debtor

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Platinum Moving Services, Inc.

 

Name

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

id None

5.1.

5.2.

Creditor’s name and address

Description of the property

Case number (i known) 22-17189

Date

 

Creditor’s name

 

Street

 

 

 

 

City State ZIP Code

 

Creditor’s name

 

Street

 

 

 

 

City State ZIP Code

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

id None

Creditor’s name and address

Description of the action creditor took

Date action was
taken

 

Creditor’s name

 

Street

 

 

Last 4 digits of account number: XXXX-__

 

City State ZIP Code

er Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor

was involved in any capacity—within 1 year before filing this case.

LI None
Case title Nature of case
"4 Simply Funding v. Platinum Moving

7.2.

Official Form 207

Services, et al. contract

Court or agency’s name and address

Value of property

Amount

Status of case

Circuit Court for Montgomery County, Maryland C) Pending

 

 

Case number

C-15-JG-22-010718

 

Case title

DTI International Transportation v. contract

 

 

 

Name

50 Maryland Avenue

Street

Rockville MD 20850
City State ZIP Code

Court or agency’s name and address

District Court for Montgomery County, MD

 

Case number

06-XX-XXXXXXX-2021

 

Name

 

 

 

8552 Second Avenue

Street

Silver Spring MD 20910
City State ZIP Code

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

O On appeal
id Concluded

O Pending
O On appeal
id Concluded

page 3
Debtor

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Platinum Moving Services, Inc.

 

Name

8. Assignments and receivership

Case number (known 22-17189

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

id None

Custodian’s name and address

 

Custodian’s name

 

Street

 

 

City State ZIP Code

 

Description of the property Value
$
Case title Court name and address

 

 

 

Name
Case number
Street
Date of order or assignment
City State ZIP Code

 

Sr Certain Gifts and Charitable Contributions

 

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

kd None

9.1

9.2.

 

 

 

 

 

 

 

 

 

 

 

 

 

kd None

Recipient’s name and address Description of the gifts or contributions Dates given Value
. $

Recipient's name

Street

City State ZIP Code

Recipient's relationship to debtor
$

Recipient's name

Street

City State ZIP Code

Recipient’s relationship to debtor
Cr Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred If you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).
$

Official Form 207

 

 

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Debtor Platinum Moving Services, Inc.

 

Name

Eo Certain Payments or Transfers

11. Payments related to bankruptcy

Case number (it known) 22-17 189

 

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,

seeking bankruptcy relief, or filing a bankruptcy case.

UL None

Who was paid or who received the transfer?

The Valle Law Firm, LLC

 

11.1.
Address

3 Bethesda Metro Center, Ste. 700

If not money, describe any property transferred

 

 

 

 

 

Street
Bethesda MD 20814
City State ZIP Code

Email or website address
diana.valle@vallelawfirm.com

 

Who made the payment, if not debtor?

 

Who was paid or who received the transfer?

 

Address

If not money, describe any property transferred

 

 

 

Street

 

 

City State ZIP Code

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary

Dates

12/22/2022

Dates

Total amount or
value

g 6,500.00

Total amount or
value

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to

a self-settled trust or similar device.

Do not include transfers already listed on this statement.

kd None

Name of trust or device

Describe any property transferred

 

Trustee

 

 

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Dates transfers

were made

Total amount or
value

$e

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Debtor Platinum Moving Services, Inc.

Name

Case number (i known) 22-17189

 

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

kd None

Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value

13.1.

 

 

Address

 

 

Street

 

 

City State ZIP Code

Relationship to debtor

 

Who received transfer?

 

 

 

Address

 

Street

 

 

City State ZIP Code

Relationship to debtor

i Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

L) Does not apply

Address Dates of occupancy

14.1. 18994 Bonanza Way From January 1, 2017 To Dec 31, 2021

 

 

 

 

 

 

Street
Gaithersburg MD 20879
City State ZIP Code
14.2. From To
Street
City State ZIP Code

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Debtor Platinum Moving Services, Inc. Case number (rknown 22 1 189
Name
Health Care Bankruptcies
15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?
\/ No. Go to Part 9.
LJ Yes. Fill in the information below.
Facility name and address Nature of the business operation, including type of services the If debtor provides meals
debtor provides and housing, number of
patients in debtor’s care
15.1.
Facility name
Street Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check all that apply:
City State ZIP Code O Electronically
LJ Paper
Facility name and address Nature of the business operation, including type of services the If debtor provides meals
debtor provides and housing, number of
patients in debtor's care
15.2.
Facility name
Street Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check all that apply:
City State ZIP Code U) Electronically
LJ Paper

Sr Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

kd No.

LI Yes. State the nature of the information collected and retained.

 

Does the debtor have a privacy policy about that information?

LI No
UL] Yes

17.Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

4d No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?
LI] No. Go to Part 10.

LI) Yes. Fill in below:
Name of plan Employer identification number of the plan

 

Has the plan been terminated?

LI No
UL Yes

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Debtor Platinum Moving Services, Inc. Case number (known 22-17 189

Name

 

 

Ce Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

 

 

 

 

 

 

 

 

LJ None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer
481, . M&T Bank XXxxX. 1591 4 checking July 2022 g 0.00
Name TT oO Savi
One M&T Plaza avings
Street
8th Floor UL) Money market
L) Brokerage
Buffalo, NY 14203 9
City State ZIP Gode CU) other
18.2. XXXX- U) Checking $
N SO
ame UL) Savings
Street UL) Money market
O Brokerage
City State ZIP Code QO) other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

 

 

 

 

 

 

 

 

 

(4 None
Depository institution name and address Names of anyone with access to it Description of the contents oor eee
L) No
Name LI Yes
Street
Address
City State ZIP Code

 

 

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

 

 

 

 

 

 

 

 

 

LJ None
wae . . sg Does debtor
Facility name and address Names of anyone with access to it Description of the contents still have it?
LI No
Extra Space Storage Raquel Fazio Moving equipment and supplies
= Wd Yes
18830 Woodfield Road
Street
Gaithersburg MD 20879 Address
City State ZIP Code 18609 Walker's Choice Road, #4

 

Montomery Village, MD 20886

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8
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Platinum Moving Services, Inc.

Name

Debtor Case number (i known) 22-17189

 

 

ara Property the Debtor Holds or Controls That the Debtor Does Not Own

 

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

 

 

 

 

 

 

 

 

 

LJ None
Owner’s name and address Location of the property Description of the property Value
: . ¢ 150,000
Anthony Ripoll JK Moving and Storage household and personal effects _—————
Name
Geneva, Switzerland 7501 Lindbergh Drive
Street Gaithersburg MD 20879
City State ZIP Code

Ci Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

= Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

= Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

= Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

id No
C] Yes. Provide details below.

 

 

 

 

 

 

 

 

 

Case title Court or agency name and address Nature of the case Status of case
O Pending
Case number Name LI on appeal
Sireat UI Concluded
City State ZIP Code

23.Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

kd No
LI Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

 

 

 

 

 

 

Name Name
Street Street
City State ZIP Code City State ZIP Code

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 9
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Debtor Platinum Moving Services, Inc.

 

Name

24.Has the debtor notified any governmental unit of any release of hazardous material?

kd No
LI Yes. Provide details below.

Site name and address

Governmental unit name and address

Environmental law, if known

Case number (# known, 22-17 18922-17189

 

Date of notice

 

 

 

 

 

 

Name Name
Street Street
City State ZIP Code City State ZIP Code

i Details About the Debtor’s Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

{d None

Business name and address

Describe the nature of the business

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

25.1.
Name
Street
City State ZIP Code
252 Business name and address Describe the nature of the business
Name
Street
City State ZIP Code
Business name and address Describe the nature of the business
25.3.
Name
Street
City State ZIP Code

Official Form 207

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -
Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10
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Debtor Platinum Moving Services, Inc. Case number (known 22-17 189

 

 

Name

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

LJ None

Name and address Dates of service

261. Betty Castillo From 2007 To Present

Name
Sagredo Bellido & Associates, PC
Street
438 N. Frederick Avenue, Apt. 301

Gaithersburg MD 20877
City State ZIP Code

 

 

 

 

Name and address Dates of service

From To
26a.2. —

 

Name

 

Street

 

 

City State ZIP Code

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
statement within 2 years before filing this case.

UL None

Name and address Dates of service

26b1, Betty Castillo From 2007 _ To present

Name
see 26a.1.
Street

 

 

 

 

City State ZIP Code

Name and address Dates of service

From To
26b.2. —

 

Name

 

Street

 

 

City State ZIP Code

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

UL None

If any books of account and records are

Name and address . .
unavailable, explain why

26c.1. Bettty Castillo

 

Name
see 26a.1.

 

 

Street

 

 

 

City State ZIP Code

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Debtor Platinum Moving Services, Inc. Case number (known 22-17 189

Name

Name and address If any books of account and records are
unavailable, explain why

26c.2.

 

Name

 

 

Street

 

 

 

City State ZIP Code

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

LJ None

Name and address

260.1. Anderson & Quinn, LLC

 

 

 

Name

Adams Law Center, 25 Wood Lane

Street

Rockville MD 20850
City State ZIP Code

 

Name and address

26d.2.

 

Name

 

Street

 

 

City State ZIP Code

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

id No

LI Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory

$

Name and address of the person who has possession of inventory records

27.1.

 

Name

 

Street

 

 

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 12
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Debtor Platinum Moving Services, Inc. Case number (rinowm 227 | 189
Name
Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory

$

Name and address of the person who has possession of inventory records

27.2.

 

Name

 

Street

 

 

City State ZIP Code

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if any
. interest
Raquel Fazio See 20. Owner/sole shareholder 100

 

 

 

 

 

29.Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

{di No
L) Yes. Identify below.

 

 

 

Name Address Position and nature of Period during which
any interest position or interest was
held
From To
From To
From To
From To

 

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

L) No
i Yes. Identify below.

 

 

 

 

 

Name and address of recipient Amount of money or Dates Reason for
description and value of providing the value
property

soa, Raquel Fazio 52,000 per year biweekly salary

Name

See 20. on Fridays

Street

($2,100)

City State ZIP Code

Relationship to debtor
Owner/sole shareholder

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 13
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Debtor Platinum Moving Services, Inc.

Name

Case number (known 22-17189

 

Name and address of recipient

 

 

Name

 

Street

 

 

City State ZIP Code

Relationship to debtor

 

31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

i No
CL) Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

id No
L) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

EIN: -
ea Signature and Declaration

WARNING -- Bankrupicy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 1/11/2023
MM /DD /YYYY

WoL FAZIO

Raquel Fazio (Jan 11, 2023 00:53 EST) Printed name_ Raquel Fazio
Signature of individual signing on behalf of the debtor

Position or relationship to debtor Owner/sole shareholder

 

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
id No

UL Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14
